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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW HAMPSHIRE

UNITED STATES OF AMERICA,             )
                                      )
             Petitioner,              )
                                      )
     v.                               )     Misc. No. 06-001-JD
                                      )
JAMES M. RAMALHO,                     )
                                      )
             Respondent.              )
                                      )

                              MOTION TO VACATE
                            ORDER TO SHOW CAUSE

     Pursuant to Rule 7.1 of the Local Rules of the United States

District Court for the District of New Hampshire, the United

States of America moves this Court to vacate the Order to Show

Cause issued in this case on January 9, 2006.           In support of this

motion, the United States makes the following statements:

     1.      The United States of America filed a Petition to

Enforce IRS Summons against James M. Ramalho on January 3, 2006.

     2.      On January 9, 2006, an Order to Show Cause was issued,

ordering Mr. Ramalho’s appearance before the Magistrate Judge on

February 16, 2006, at 9:30 a.m.

     3.      On February 3, 2006, the United States withdrew its

request for enforcement of the summons.

     4.      Based on the United States’ withdrawal, this Court has

administratively closed this case.         However, the January 9, 2006

Order to Show Cause still exists.

     5.      In order to avoid any confusion, the United States

requests that the Order to Show Cause be formally vacated by the

Court.
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     6.      A good faith attempt has been made to contact

Respondent Ramalho, but there was no answer at his telephone

number.

     7.      Due to the nature of this motion, no supporting

memorandum of law is necessary.

     For these reasons, the United States requests that the Court

vacate the Order to Show Cause which it issued in this case on

January 9, 2006.

                                      Respectfully submitted,

                                      THOMAS P. COLANTUONO
                                      United States Attorney

                                          /s/ Gretchen Leah Witt
                                      By:
                                      Gretchen Leah Witt
                                      Assistant U.S. Attorney
                                      Chief, Civil Division
                                      NH Bar No. 2775
                                      53 Pleasant Street
                                      Concord, NH 03301
                                      603-225-1552
                                      gretchen.witt@usdoj.gov
February 8, 2006

                          CERTIFICATE OF SERVICE
     I certify that on this 8th day of February, 2006, a copy of
the above Motion was mailed, via certified, return receipt
requested, to James M. Ramalho at 24 Bullard Drive, Hooksett, New
Hampshire 03106 and at 33 Bullard Drive, Hooksett, New Hampshire
03106.


                                          /s/ Gretchen Leah Witt

                                      Gretchen Leah Witt, AUSA




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